Case 5:19-cv-00138-JSM-PRL Document 48 Filed 05/14/21 Page 1 of 3 PageID 1817
          USCA11 Case: 20-13075 Date Filed: 05/11/2021 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                                 For the Eleventh Circuit
                                     ______________

                                         No. 20-13075
                                        ______________

                                    District Court Docket No.
                                    5:19-cv-00138-JSM-PRL

GERARD OLBEK,
ASHLEY ROGERS,

                                                   Plaintiffs - Appellants,

versus

CITY OF WILDWOOD, FL,
JASON MCHUGH,
Manager, City of Wildwood,

                                             Defendants - Appellees.
                       __________________________________________

                       Appeal from the United States District Court for the
                                   Middle District of Florida
                       __________________________________________

                                          JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                     Entered: April 05, 2021
                         For the Court: DAVID J. SMITH, Clerk of Court
                                         By: Jeff R. Patch




ISSUED AS MANDATE 05/11/2021
Case 5:19-cv-00138-JSM-PRL Document 48 Filed 05/14/21 Page 2 of 3 PageID 1818
          USCA11 Case: 20-13075 Date Filed: 05/11/2021 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         May 11, 2021

Clerk - Middle District of Florida
U.S. District Court
207 NW 2ND ST
OCALA, FL 34475

Appeal Number: 20-13075-JJ
Case Style: Gerard Olbek, et al v. City of Wildwood, FL, et al
District Court Docket No: 5:19-cv-00138-JSM-PRL

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
Case 5:19-cv-00138-JSM-PRL Document 48 Filed 05/14/21 Page 3 of 3 PageID 1819


 From:            ecf_help@ca11.uscourts.gov
 To:              FLMD_EFILE_APPEALS
 Subject:         20-13075-JJ Gerard Olbek, et al v. City of Wildwood, FL, et al "Mandate Issued" (5:19-cv-00138-JSM-PRL)
 Date:            Tuesday, May 11, 2021 3:59:15 PM




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                                                               United States Court of Appeals for the Eleventh Circuit

 Notice of Docket Activity

 The following transaction was filed on 05/11/2021
 Case Name:        Gerard Olbek, et al v. City of Wildwood, FL, et al
 Case Number:   20-13075
 Document(s): Document(s)


 Docket Text:
 Mandate issued as to Appellants Gerard Olbek and Ashley Rogers.

 Notice will be electronically mailed to:

 Michael H. Bowling
 Clerk - Middle District of Florida, Clerk of Court
 Tobe Lev


 The following document(s) are associated with this transaction:
 Document Description: MDT-1 Notice to Counsel/Parties
 Original Filename: /opt/ACECF/live/forms/LoisTunstall_2013075_9383032_MDT-1LetterIssuingMandate_288.pdf
 Electronic Document Stamp:
 [STAMP acecfStamp_ID=1160056652 [Date=05/11/2021] [FileNumber=9383032-1]
 [850645efdf4109510c737553973314e444b42bb98fec4e447e80cdf709599d4ed796cede507cb21d8d7a93571d7e379c6664ee95df7f9fd1cf49cf3ea34153f3]]
 Recipients:

        Michael H. Bowling
        Clerk - Middle District of Florida, Clerk of Court
        Tobe Lev

 Document Description: Mandate Issued
 Original Filename: 13075jjmandate051121.pdf
 Electronic Document Stamp:
 [STAMP acecfStamp_ID=1160056652 [Date=05/11/2021] [FileNumber=9383032-0]
 [4446da6962a01746d205473b87833f62b79c7233e75ab672ccd75abface09e0f76ca9235260e0e2f80b1e215b7d29d99ba4600e644848b2f38727e832525636f]]
